Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 1 of 14 Pageid#:
                                   3188



                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, and JOHN DOE,

                            Plaintiffs,

   v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT              Civil Action No. 3:17-cv-00072-
  “AZZMADOR” RAY, NATHAN DAMIGO,              NKM
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,                      JURY TRIAL DEMANDED
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                            Defendants.

             [PROPOSED] STIPULATION AND ORDER FOR THE
        IMAGING, PRESERVATION, AND PRODUCTION OF DOCUMENTS




                                          1
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 2 of 14 Pageid#:
                                   3189



        WHEREAS the Plaintiffs having engaged a discovery vendor to image, preserve, and

 produce information relevant to the Action in a manner consistent with the Federal Rules of Civil

 Procedure; and

        WHEREAS certain Defendants have expressed an inability to image, preserve, and

 produce Electronically Stored Information (“ESI”) in a manner consistent with the Federal Rules

 of Civil Procedure; and

        WHEREAS the Plaintiffs and Defendants Christopher Cantwell, Nathan Damigo,

 Matthew Heimbach, Michael Hill, Identity Evropa, Jason Kessler, League of the South, Eli

 Mosley, Nationalist Front, National Socialist Movement, Matthew Parrott, Robert Ray, Jeff

 Schoep, Richard Spencer, Traditionalist Worker Party, Michael Tubbs, and Vanguard America

 (collectively, the “Defendants,” and with Plaintiffs, the “Parties”) having stipulated and agreed to

 the terms set forth herein;

        IT IS hereby ORDERED as follows:

 I.     GENERAL PROVISIONS AND DEFINITIONS

        1.      Scope of Order: This Stipulation and Order governs the Parties’ agreement to

 permit the Third Party Discovery Vendor to collect and preserve evidence from Defendants’

 Electronic Devices that is potentially relevant to this litigation and/or responsive to Plaintiffs’

 Discovery Requests.

        2.      Definitions: As used herein:

                   i.   “Action” refers to the above-captioned litigation, Sines, et al. v. Kessler, et

                        al., No. 17-cv-00072 (W.D. Va.).

                  ii.   “Discovery Requests” refers to Plaintiffs’ [Corrected] First Set of

                        Documents Requests, dated January 25, 2018; Plaintiffs First Set of




                                                   2
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 3 of 14 Pageid#:
                                   3190



                    Interrogatories, dated January 25, 2018; and any other discovery requests

                    served by Plaintiffs in this Action.

             iii.   “Document” shall be construed broadly to include any original,

                    reproduction or copy of written or documentary material, ESI (as defined

                    below), howsoever stored, or drafts thereof, including, but not limited to,

                    correspondence, memoranda, and other communications. The term

                    “Document” shall also encompass the use of the term “Documents” as

                    contemplated by Fed. R. Civ. P. 34(a) including, without limitation,

                    Documents maintained in paper form. The term “Document” as used in

                    this Stipulation and Order is synonymous with “file.”

             iv.    “Electronic Device” shall be construed to include computer networks,

                    mainframe computers, desktop computers, laptop computers, smartphones,

                    tablet computers, gaming devices, hard drives and/or electronic storage

                    systems and/or devices (whether accessed via a network or locally). For

                    purposes of clarification, storage devices include external hard drives,

                    portable jump or thumb drives, CDs, DVDs, and any other electronic data

                    storage device.

              v.    “Electronically Stored Information” or “ESI” shall be construed to mean

                    all digital or analog electronic files, including ‘deleted’ files and file

                    fragments, stored in machine-readable format on magnetic, optical or

                    other storage media, including phones, tablets, laptops, desktop

                    computers, and any hard drives or backup media used by the Defendants

                    (e.g., other external hard drives, backup drives or tapes, flash drives, or




                                               3
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 4 of 14 Pageid#:
                                   3191



                  any other storage media used for storing backups) or otherwise, whether

                  such files have been reduced to paper printouts or not. This includes all e-

                  mails, both sent and received; all word-processed files, including drafts

                  and revisions; all spreadsheets, including drafts and revisions; all

                  databases; all CAD (computer aided design) files, including drafts and

                  revisions; all presentation data or slide shows produced by presentation

                  software (such as Microsoft PowerPoint); all graphs, charts, and other data

                  produced by project management software (such as Microsoft Project); all

                  data generated by calendaring, task management and Personal Information

                  Management (PIM) software (such as Microsoft Outlook or Lotus Notes);

                  all data created with the use of smartphones or any other mobile smart

                  device including Personal Data Assistants (“PDA’s”); all data created with

                  the use of document management software; all data created with the use of

                  paper and electronic mail logging and routing software; all internet and

                  web-browser-generated history files, caches and “cookies” files; and any

                  and all other files generated through the use of computers, video, audio

                  recording, image, instant messages, posts to social media, text messages,

                  gaming and collaboration web services or information and/or

                  telecommunications, including but not limited to voice mail and cloud

                  storage. ESI shall not include any file created by a machine or any files

                  necessary for the normal operation of a computer system. The term “ESI”

                  as used in this Stipulation and Order shall also encompass the meaning of

                  “electronically stored information” as used in Fed. R. Civ. P. 34(a).




                                            4
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 5 of 14 Pageid#:
                                   3192



                 vi.   The act of creating an “image” or “imaging” as used herein refers to

                       creating an electronic copy that captures all ESI related to that device or

                       account without the alteration of metadata associated with that account.

                  vii. “Metadata” refers to the fields set forth below to the extent that such fields

                       are available in the source Document.

         Field                                       Comments
     BegBates          Beginning Bates number
     EndBates          Ending Bates number
     BegAttach         Bates number of the first page of a family range
     EndAttach         Bates number of the last page of a family range
     PageCount         Number of pages in a Document.
     FileExtension     Original file extension as the document was maintained in the
                       ordinary course
     FileSize          File size in bytes
     DocTitle          Document title as stored in file metadata
     Custodian         Full name of all applicable custodians
     Author            Document author information for non-email
     From         Email FROM
     To           Email TO
     Cc           Email CC
     BCC          Email BCC
     Subject      Email Subject
     Attachments  Name of attached file(s) as maintained in the ordinary course of
                  business
     DateCreated  File date created MM/DD/YYYY
     DateModified File date modified MM/DD/YYYY
     DateSent     Date sent MM/DD/YYYY
     TimeSent     Time sent HH:MM:SS AM/PM
     DateReceived Date received MM/DD/YYYY
     TimeReceived Time received HH:MM:SS AM/PM
     DateStarted  Date started MM/DD/YYYY
     DateEnded    Date ended MM/DD/YYYY
     FileName     Name of the file as maintained in the ordinary course of business
                  with extension
     MD5Hash      The Computer-generated MD5 Hash value for each document




                                                 5
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 6 of 14 Pageid#:
                                   3193



     NativePath            The path to the native-format file corresponding to each Document
                           on the delivery media, including the file name (if a native-format file
                           is provided)
     TextPath              The path to the corresponding text file for each Document on the
                           delivery media, including filename

                  viii. “Producing Party” refers to the Party producing Documents.

                  ix.      “Protective Order” refers to the “Order for the Production of Documents

                           and Exchange of Confidential Information,” ECF No. 167.

                        x. “Social Media Account” shall mean an account on any forum, website,

                           application, or other platform on which persons can create, transmit, share,

                           communicate concerning, or comment upon any information, ideas, or

                           opinions, or otherwise engage in social networking. Without limiting the

                           foregoing in any manner, and by way of example only, the following are

                           social media platforms: email, comment sections of websites, Facebook,

                           Discord, Reddit, Imgur, SnapChat, Instagram, Google+, 4chan, 8chan,

                           Twitter, Tumblr, Youtube, and instant messaging services such as Signal,

                           WhatsApp, Messenger, Hangouts, or Skype. Without limiting the

                           foregoing in any manner, and by way of example only, the following are

                           methods of using social media platforms: uploading, posting, commenting,

                           reacting (e.g., “liking” a post), and sharing.

                  xi.      “Third Party Discovery Vendor” shall mean a company capable of

                           undertaking the obligations set forth herein that is in the business of

                           conducting forensic examinations of Electronic Devices for the purposes




                                                      6
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 7 of 14 Pageid#:
                                   3194



                            of collecting and preserving ESI, as well as determining whether any ESI

                            has been deleted or lost.1

 II.      COLLECTION AND IMAGING OF DOCUMENTS 2

          3.       Engagement of a Third Party Discovery Vendor: Within 21 days of the entry of

 this Stipulation and Order, Defendants—whether collectively or individually—shall engage, at

 their own expense, a Third Party Discovery Vendor to conduct the collection and production

 required by this Stipulation and Order.

          4.       Identification of Sources of Documents: Within 14 days of the entry of this

 Stipulation and Order, Defendants shall complete the Certification attached as Exhibit A (the

 “Certification”), and provide such Certification to counsel for Plaintiffs.

          5.       ESI: Within 7 days of receipt of the Defendants’ Exhibit A’s, Plaintiffs shall

 identify those Electronic Devices and Social Media Accounts that the Third Party Discovery

 Vendor shall image and collect. Within 28 days of the entry of this Stipulation and Order,

 Defendants shall make available to the Third Party Discovery Vendor for imaging and collection

 any Electronic Device or Social Media Account identified on Exhibit A and selected by Plaintiffs

 pursuant to this paragraph.

          6.       Identification of Responsive Documents: Following the imaging and collection of

 the Documents contained on Electronic Devices and Social Media Accounts identified on

 Exhibit A and selected by Plaintiffs, Defendants shall review the results of the collection and

 produce to Plaintiffs those non-privileged Documents that are responsive to the Discovery




 1
   Examples of such companies include, but are not limited to: Epiq Systems, Inc.; RVM Enterprises, Inc.;
 KLDiscovery; kCura; and FTI Consulting.
 2
   Due to his current incarceration, the deadlines in Section II shall not apply to Defendant Fields. Plaintiffs and
 Defendant Fields will enter into a separate stipulation and proposed order as to the timing to be applied to Defendant
 Fields.


                                                           7
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 8 of 14 Pageid#:
                                   3195



 Requests in the manner set forth in Paragraphs 7-15 below. Prior to conducting the review of the

 results of the collection, Defendants shall disclose to Plaintiffs any search terms or date ranges

 used to limit the review population. Should Plaintiffs have an objection to the search terms or

 date ranges applied by Defendants, Plaintiffs shall note such objection by email and Parties shall

 confer within one week to attempt to resolve any dispute. In the event that a dispute between the

 Parties remains following the meet and confer, the Parties shall submit to the Court a joint email

 setting forth the nature of the dispute for the Court’s resolution.

 III.   FORMAT OF PRODUCTION OF DOCUMENTS

        7.      When producing Documents responsive to Parties’ discovery requests, Producing

 Parties shall produce such Documents in the following manner:

        8.      Production Format:

                     i. For word processing files (e.g., Microsoft Word): Comments, “tracked

                        changes,” and any similar in-line editing or hidden content will be

                        produced. Such files must be produced in native format with the only

                        alteration being the addition of Bates numbers, unless the file can be

                        produced as a pdf or TIFF file in a manner that preserves the metadata of

                        the original word processing file.

                    ii. For presentation files (e.g., Microsoft PowerPoint): Speaker notes,

                        comments, and all other hidden content will be produced. Such files

                        must be produced in native format with the only alteration being the

                        addition of Bates numbers, unless the file can be produced as a pdf or

                        TIFF file in a manner that preserves the metadata of the original

                        presentation file.



                                                   8
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 9 of 14 Pageid#:
                                   3196



               iii. For spreadsheet files (e.g., Microsoft Excel): Hidden columns, rows, and

                   sheets, comments, “tracked changes,” and any similar in-line editing or

                   hidden content will be produced. Such files must be produced in native

                   format with the only alteration being the addition of a Bates number to

                   the file name.

               iv. Text messages, instant messages, e-mails, and social media postings

                   (e.g., Facebook activity): Such files will be produced as pdf or TIFF

                   files with optical character recognition (“OCR”). The Bates number

                   will be affixed at the lower right-hand corner of the PDF or TIFF files.

                v. Media files, including audio, videos and photographs: Such files may be

                   produced in native format with the only alteration being the addition of a

                   Bates number to the file name.

               vi. For PDFs: Such files will be produced as PDF or TIFF files with optical

                   character recognition (“OCR”) and Bates numbers.

              vii. For hard-copy documents: Such files will be produced as PDF or TIFF

                   files with OCR and Bates numbers.

              viii. For any and all ESI, Documents shall be produced with all metadata

                   intact to the maximum extent possible. Where necessary to preserve

                   metadata that cannot be produced as a result of the production formats

                   listed above, or that cannot be produced with the Document for any other

                   reason, the Producing Party will affix as the final page of the Document

                   a description of the metadata.




                                             9
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 10 of 14 Pageid#:
                                    3197



        9.      Segregation of Documents: Documents to be produced that are segregated or

 separated from other Documents, whether because the Documents were located in binders,

 separate files, segregated by dividers, tabs, or clips or otherwise segregated or separated, will be

 produced in a manner that reflects these divisions. Without limiting the foregoing, the Parties

 specifically agree that:

                     i. In scanning paper documents, distinct documents should not be merged

                        into a single Document, and single documents should not be split into

                        multiple Document (i.e., paper documents should be logically unitized as

                        found in the source Document). The Parties will make their best efforts to

                        unitize documents correctly and agree promptly to address situations

                        where there are improperly unitized documents.

                    ii. Parent-child relationships (the association between an attachment and its

                        parent Document) should be preserved and appropriately reflected in the

                        metadata if identified in the source Document. Bates numbering of a

                        parent Document and any attachments shall be sequential such that a

                        parent Document has the lowest value Bates number when compared to its

                        attachment(s).

                   iii. If any portion of a Document is responsive, the entire Document should be

                        produced.

        10.     Bates Numbering: Documents shall be produced Bates-stamped. Bates numbers

 shall be unique IDs with a prefix that can be readily attributed to the Producing Party. Bates

 numbering should be sequential. The Parties agree to use placeholders (e.g., “intentionally left




                                                  10
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 11 of 14 Pageid#:
                                    3198



 blank” pages), rather than skipping Bates numbers in production. Bates numbers shall be

 provided on the lower right-hand of each page.

        11.     Treatment of Attachments: Where attachments to Documents are produced, they

 shall be attached in the same manner as found in the original Document. Where Documents are

 produced and all attachments thereto are not included, the Producing Party shall identify the

 missing attachments by means of a one-page “place holder” document for each missing

 document and assign a Bates number to that page, consistent with the Bates number protocol in

 this Stipulation. For each missing attachment, the Producing Party shall provide a description of

 the attachment, type of document, title, number of pages, and explain the reason for its non-

 production, with information sufficient to allow the Party requesting the production of the

 Document to understand the basis for the non-production and to challenge it in Court, if

 appropriate.

 IV.    REDACTION OF DOCUMENTS

        12.     Producing Parties may only redact the content of documents to the extent the

 content is: (a) subject to the attorney-client privilege, work-product doctrine, or any other

 privilege; (b) information that is not responsive to any discovery request.

        13.     To the extent that a document is produced in redacted form, any redactions shall

 be clearly indicated on the face of the document and each page of the document from which

 information is redacted shall bear a designation that it has been redacted and the reason for the

 redaction. As an example, “Redacted for Privilege,” “Highly Confidential – Redacted” when

 producing documents to Pro Se Parties, or “Redacted as Non-Responsive.” Where a responsive

 document contains both redacted and non-redacted content, the Producing Party shall produce

 the remainder of the non-redacted portions of the document. Only where redactable content is

 predominant in a document and no potentially relevant unredacted material responsive to a


                                                  11
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 12 of 14 Pageid#:
                                    3199



 discovery request for production remains in the document shall a Party be exempted from

 producing the document in redacted form (i.e., the Party can withhold the document in its

 entirety).

         14.    Documents that are to be produced in a native format but require redactions may

 be produced with the relevant text replaced with “[REDACTED]” or black overlay concealing

 those portions of the document.

         15.    The production of a document in redacted form does not affect the Producing

 Party’s obligation to properly document and substantiate the assertion of privilege over the

 content on a privilege log. Any Party that produces documents containing redactions for

 privilege or withholds documents on the basis of privilege shall create a privilege log that

 complies with the requirements of Federal Rule of Civil Procedure 26. All redactions must be

 logged by the Producing Party on the privilege log.

 V.      MISCELLANEOUS

         16.    Except as specifically set forth herein, this Stipulation does not alter or affect the

 applicability of the Federal Rules of Civil Procedure or Local Rules for the Western District of

 Virginia to this matter. Nor does this Stipulation address, limit, affect, determine, or have any

 bearing on the relevance, discoverability, or admissibility as evidence of any Document (as

 defined below), regardless of whether the Document is to be preserved, is preserved, or is

 produced pursuant to the terms of this Stipulation.

         17.    All obligations in this Stipulation and Order are continuing obligations. As such,

 for every new email address, mobile phone device, computer, external storage, social media

 account, or other communication platform created or obtained during this Action, the relevant

 obligations in this Stipulation and Order apply and require an updated Certification from each

 Party confirming that they have completed their obligations under this Stipulation and Order.


                                                  12
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 13 of 14 Pageid#:
                                    3200



        18.     This Stipulation and Order does not alter any obligations or rights that may be

 contained in the Protective Order.

        19.     Nothing in this Stipulation and Order shall be deemed a waiver of any Party’s

 right to object to the production of any Document on the basis of relevance, materiality,

 privilege, overbreadth, burden, proportionality, or any other recognized objection to discovery.

        20.     Nothing in this Stipulation and Order shall be deemed to either diminish or

 eliminate the general obligation to identify and preserve potentially relevant information, nor as a

 waiver of any Party’s right to seek any appropriate relief for spoliation or any failure to preserve

 or to otherwise seek appropriate relief from this Court.

        21.     Any Party may seek a modification to this Stipulation and Order from the Court

 for good cause shown.

        22.     Any obligation to preserve Documents or ESI contained in this Stipulation and

 Order shall continue throughout the pendency of this litigation, including during the pendency of

 any appeals or time in which a Party may appeal.




 So Ordered:




 ______________________________                                _____________________________
 Magistrate Judge Hoppe                                        Date




                                                  13
Case 3:17-cv-00072-NKM-JCH Document 354-1 Filed 10/02/18 Page 14 of 14 Pageid#:
                                    3201



                  EXHIBIT A TO STIPULATION AND ORDER FOR THE
             IMAGING, PRESERVATION, AND PRODUCTION OF DOCUMENTS

        Consistent with the obligations under the “Stipulation and Order for the Imaging,

 Preservation, and Production of Documents,” I certify that:

        1.      The following are all the Social Media Accounts, as defined in ¶ 2(xi) of the

 Stipulation and Order, that contain potentially relevant Documents:

  Username            Provider/Platform Nature of Responsive Documents on Account




        2.      The following are all the Electronic Devices, as defined in ¶ 2(vi) of the

 Stipulation and Order, that I have possessed since January 1, 2017 that may contain any

 potentially relevant Documents or ESI:

  Device Type         Size (e.g., 32 GB)    Nature of Responsive Documents on Device
  (e.g., iPhone 7)




        I certify under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

 Executed on _____________.

                                                      _________________________________

                                                                       Defendant
